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MICAHEL MCG‘INNIs/ELIZABETH HANF §

Assistant United States Attorneys

 

BefOre: THE HONORABLE SARAH NETBURN
United States Magistrate Judge
Southern District of New York

COMPLAINT
UNITED STATES OF AMERICA
: Violations of
~ V. - : 21 U.S.C. § 846; 18
: U.S.C.
KEVIN WATSON, a/k/a “Buff,” : §§ 924(€)(1){A)(i)
- and 2
Defendant.
. COUNTY OF OFFENSE:
m ~ ~ m - - - - ~ ~ ~ - - - - ~ X NEW YORK

SOUTHERN DISTRICT OF NEW YORK, SS.:

KENNETH R. MCGRAIL, being duly sworn, deposes and says that
he is a Special Agent with the Drug Enforcement Administration
(“DEA”), and charges as follows:

COUNT ONE

l. From at least in or about September 2017 up to
and including the present, in the Southern District of New York
and elsewhere, KEVIN WATSON, a/k/a “Buff,” the defendant, and
others known and unknown, intentionally and knowingly did
combine, conspire, confederate, and agree together and with each
other to violate the narcotics laws of the United States.

2. It was a part and an object of the conspiracy
that KEVIN WATSON, a/k/a “Buff,” the defendant, and others known
and unknown, would and did distribute and possess with intent to
distribute a controlled substance, in violation of Title 21,
United States Code, Sections 841(a)(1).

3. The controlled substance that KEVIN WATSON, a/k/a
“Buff,” the defendant, conspired to distribute and possess with
intent to distribute was oxycodone, a Schedule ll controlled
substance, in violation of Title 21, United States Code, Section

 

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841(b)(1)(C).
(Title 2l, United States Code, Section 846.)
COUNT TWO

4, On or about October 16, 2017, in the Southern
District of New York and elsewhere, KEVIN WATSON, a/k/a “Buff,”
the defendant, during and in relation to a drug trafficking
crime for which he may be prosecuted in a court of the United
States, namely, the narcotics offense charged in Count One of
this Complaint, knowingly did use and carry a firearm, and in
furtherance of such narcotics offense, did possess a firearm,
and did aid and abet the use, carrying, and possession of a
firearm.

(Title 18, United States Code, Sections 924(€)(1)(A)(i) and 2.)

The bases for my knowledge and for the foregoing charges
are, in part, as follows:

5. l am a Special Agent with the DEA and have been
so employed for approximately three years. I have been involved
in the investigation of the above~described offense. The
information contained in this-Complaint is based upon my
personal knowledge and participation in this investigation, as
well as on my conversations with other law enforcement agents
and my examination of reports and records. Because this
affidavit is being submitted for the limited purpose of
establishing probable cause, it does not include all the facts 1
have learned during the course of my investigation. Where the
contents of documents and the actions, statements, and
conversations of others are reported herein, they are reported
in substance and in part, except where otherwise indicated.
Where figures, calculations! and dates are set forth herein,
they are approximate, unless stated otherwise,

6. Based on my participation in this investigation,
including my conversations with other law enforcement agents and
my review of reports and records, I have learned the following,
in substance and in part:

a. On or about September 28, 2017, the Honorable
Loretta A. Preska, United States District Judge for the Southern
District of New York, signed an order (the “September 28 Order”)
authorizing the interception of wire and electronic
communications occurring over a cellphone used by KEVIN WATSON,

 

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a/k/a “Buff,” the defendant. Interception pursuant to the
September 28 Order began on or about September 28, 2017.

b. Based on my and other law enforcement agents'
review of draft preliminary linesheets of calls and text
messages intercepted pursuant to the September 28 Order, l have
learned the following, in substance and in part:

i. On or about September 28, 2017, at
approximately 7:18 p.m., WATSON called a particular individual
(“Individuai~l”). During that cali, Individual-l told WATSON
that “they ain’t give me my full dosage. They gave mer uh
10 and then . . . my slip didn’t get through to the doctor's
office man. So I'm like stuck with this bullshit man . . . . l
already got a kid that called, you know, wanted but that's What
I got right now, 10.” WATSON responded, in substance and in
part, that Individual-l should not worry about it, and that
WATSON “got this smoke for you.” Individual~l asked WATSON

whether WATSON “needfed] these,” to which WATSON responded,
“Nah, I don’t want those.”

ii. Based on my training, experience, and
participation in this investigation, l believe that, during this
call, Individual-l was_telling WATSON that a doctor or
pharmacist had not provided Individual-l with a “full dosage”
but instead had given Individual-l lO-milligram pills (“10”),
and that Individual-l had an individual aside from WATSON who
wanted to buy pills from him (“l already got a kid that calied,
you know, wanted but that's what f got right now, lG”). l
further believe that Individual~l was checking to ensure WATSON
did not want to buy the “10” off of Individual-l (“listen you
don’t need these right?”), and that WATSON was confirming that
he did not (“Nah, I don’t want those.”)

iii. On or about October l, 2017, at
approximately 2:01 p.m., an individual (“Individual-Z”) sent a
text message to WATSON stating, “Can l see you today.” At

approximately 2:07 p.m., WATSON sent a text message to
Individual-l stating, “U gave me 89 again not around catch You
the next time." At approximately 2:08 p.m., lndividual~2 called
WATSON and apologized, stating, “I don't know why this keep
happening, but I'mma pay the difference.” Individual~2 further
informed WATSON, “I got that for you. And I‘m sorry about that.
l have to start counting behind people.” WATSON responded,
“Yeah, do that. All right.”

 

 

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iv. Based on my training, experience, and
participation in this investigation, l believe that, during this
call, Individual-Z was apologizing for providing WATSON with
fewer pills than they had agreed to, reassuring WATSON that
Individual-Z would pay him back (“I’mma pay the difference”) and
would begin counting how many pills were being provided by
others to ensure that the correct amount was being provided (“I
don't know why this keep happening”; “I have to start counting
behind people”}.

v. On or about October 5, 2017, at
approximately 3:21 p.m., an individual (“Individual~3”) called
WATSON and said, “I got 89, 20’s.” WATSON responded, “All
right, come on, I'm right here in Jimbo's.” Individual~B
responded, “All right, I'll be there . . . in 2 second,” and
WATSON responded “All right.”

 

 

vi. Based on my training, experience, and
participation in this investigation, I believe that, during this
call, WATSON and Individual-3 were arranging to meet up for
Individual~E to sell WATSON 20~milligram pills of oxycodone
(“20's”).

vii. On or about October ll, 2017, at
approximately 12:32 p.m., WATSON received a call from a
particular individual (“Individual-4”). During that call,
Individual-a stated, “Yeah, Imma probably have 90 in about a
hour . . . you taking them?” to which WATSON responded,
“Oh . . . huh . . . what's that on . . . green?” lndividual~a
replied, “The 30, yeah the 30 size,” and WATSON said, “Okay,
cool, hit me.” At approximately 12:43 p.m., Individual-4 called
WATSON and said, “Yo, I got this §U/I] this n*** okayr I don't
think you gonna to do this, bro. This n*** want l9 man.”
WATSON responded, “What's that?” and Individual-4 stated, “He
said, 19.50.” Individual»4 asked, “What the most you’ll give
him?” and WATSON responded, “I'll do like, maybe like, you know,
we come down to maybe like half a point or a point and half.”
Individual-4 asked, “For 19” and WATSON said, “We might do
that.”

viii. Based on my training, experience, and
participation in this investigation, I believe that, during this
call, individual-4 was offering to sell WATSON 90 pills (“lmma
probably have 90 in about a hour . . . you taking them?) of 30-
milligram doses of oxycodone (“the 30 size”), but subsequently
called WATSON back to inform him that the individual from whom
he was expecting them was selling them for “19” or “19.50,” and

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to inquire about the maximum price WATSON would pay for them
(“What the most you'll give him?”)

ix. On or about October 14, 2017, at
approximately 11:52 a.m., WATSON received a text message from a
particular individual (“Individual~S”) that stated, “Sorry to
bother you bro, the s*** you gave me the other day , , , it's
fire Kev . . . if you have anymore to give up for some cash that
would be appreciated . . . . . . .it's the real s***
if not no problem. . . . have a good day . . .”

x. Based on my training, experience, and

participation in this investigation, l believe that, in this
message, Individual-S was informing WATSON that the narcotics
which WATSON had given him previously (“the s*** you gave me the
other day” were strong or of particularly high quality (“it's
fire”; “it's the real s***”), and was asking if WATSON could
sell him more (“if you have anymore to give up for some cash
that would be appreciated”),

7. Based on my participation in this investigation,
including my conversations with other law enforcement agents and
my review of reports and records, I have learned the following,
in substance and in part:

a. On or about October 16, 2017, law enforcement
agents conducted a traffic stop of KEVIN WATSON, a/k/a “Buff,
the defendant.

b. After arresting WATSON, law enforcement agents
found, among other things:

i. Approximately 162 20-milligram tablets of
oxycodone, concealed inside a brown paper bag, in WATSON's
jacket pocket; and

ii. a silver-colored .380 caliber semi~automatic
firearm, with a black magazine and seven .380 caliber bullets,
located in the trunk of the vehicle in which WATSON had been
driving {the “Vehicle”}.

8. Based on my participation in this investigationr
including my conversations with other law enforcement agents and
my review of reports and records, l have learned the following,
in substance and in part:

 

 

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a. On or about October 20, 2017, law enforcement
agents observed KEVIN WATSON, a/k/a “Buff,” and another
individual enter the Vehicle. Law enforcement agents
subsequently conducted a traffic stop of the Vehicle and
arrested WATSON.

b. Law enforcement agents recovered approximately
several thousand dollars in cash on WATSON’s person.

c, Law enforcement agents searched the Vehicle and
found, among other things:

i. an orange prescription bottle with no label,
containing between approximately four to five crushed pills that
agents believed, based on their training, experience, and
participation in this investigation, to be oxycodone; and

ii. an empty prescription bottle in the name of
another individual.

9. Based on my participation in this investigationr
including my conversations with other law enforcement agents and
my review of reports and records, l have learned the following,
in substance and in part:

a. On or about October 20, 2017, law enforcement
agents arrived at an apartment located in a building at 935 163rd
Street in the Bronx, New York (the “Apartment”) that KEVIN
WATSON, a/k/a “Buff,” has listed as his address on a
prescription maintained by the Bureau of Narcotics Enforcement
with the New York State Department of Health and which law
enforcement agents believe, based on surveillance and law
enforcement databases, is WATSON's residence.

b. After agents arrived at the Apartment, an
individual believed, based on telephone subscriber information
and interceptions pursuant to the September 28 Order, to reside
with WATSON at the Apartment provided law enforcement with
verbal and Written consent to search the Apartment.

c. Law enforcement agents subsequently conducted a
search of the Apartment, and found, among other things, the
following:

i. Multiple false identification cards in the
names of other individuals depicting WATSON in the photograph;

 

 

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ii. Several empty prescription bottles,
including prescription bottles in the names of other
individuals;

iii. At least two prescription bottles containing
pills that law enforcement agents recognized, based on their
training, experience, and participation in this investigation,
to be oxycodone, each with approximately 120 30~milligram pills;
and

iv. At least approximately two additional
prescription bottles, with the labels ripped off, together
containing approximately 100 pills that law enforcement agents
recognized, based on their training, experience, and
participation in this investigation, to be oxycodone.

WHEREFORE, l respectfully request that KEVIN WATSON, the
defendant, be imprisoned or bailed, as the case may be.

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KENNETH R. MCGRAIL
Special Agent
Drug Enforcement Administration

 

Sworn to before me this
20th day of October 2017

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